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 Fill in this information to identify the case:
 Debtor name         Newberry Bakers, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         17-44189-rfn11                           Chapter      11                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       License Agreement                               1-800-Flowers.com, Inc.
          or lease is for and the       Contract to be REJECTED                         Attn: Colleen Kearney
          nature of the debtor's
          interest                                                                      One Old Country Rd., Suite 500

          State the term remaining
          List the contract
          number of any
                                                                                       Carle Place                         NY            11514
          government contract

2.2       State what the contract       Equipment Lease                                 Alliance Funding Group
          or lease is for and the
                                                                                        3745 W. Chapman Ave., Suite 200
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Orange                              CA            92868
          government contract

2.3       State what the contract       Equipment Lease                                 Bay Oaks Investments, Ltd.
          or lease is for and the
                                                                                        50 Muirfield
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Boerne                              TX            78006
          government contract

2.4       State what the contract       Commercial Lease-Real Property                  Bay Oaks Investments, Ltd.
          or lease is for and the       14210 Interdrive West, Houston, TX              50 Muirfield
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Boerne                              TX            78006
          government contract




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Debtor       Newberry Bakers, Inc.                                                Case number (if known)   17-44189-rfn11



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      Commercial Lease-Real Property           Costa Ventures, Inc.
          or lease is for and the      14151 Interdrive West, Houston, TX       Attn: William Bruegmann
          nature of the debtor's       Contract to be REJECTED
          interest                                                              2255 Contra Costa Blvd. #305

          State the term remaining
          List the contract
          number of any
                                                                                Pleasant Hill                   CA        94523
          government contract

2.6       State what the contract      Equipment Lease                          Creekridge Capital Vendor Financing
          or lease is for and the      Hinds Bock "Auto Answer"                 7808 Creekridge Circle, Suite 250
          nature of the debtor's       Automatic Batter Depositor Model
          interest                     6P-08A (s/n 6920) and Used
                                       Goodway Slurry Mixer with Start Box
                                       and Holding Tank
          State the term remaining                                              Edina                           MN        55439
          List the contract
          number of any
          government contract

2.7       State what the contract      Industrial Net Lease-Real Property       GSL WELCOME SUB 33, LLC
          or lease is for and the      14149 Interdrive West, Houston, TX       Attn: Welcome Wilson/Craig Wilson
          nature of the debtor's       Contract to be REJECTED
          interest                                                              5858 Westheimer, Suite 800

          State the term remaining
          List the contract
          number of any
                                                                                Houston                         TX        77057
          government contract

2.8       State what the contract      Equipment Lease                          Leaf Capital Funding, LLC
          or lease is for and the      Modular Cooling Room 74'x84'x12'         2005 Market St., 14th Floor
          nature of the debtor's       High
          interest                     Multidrop Twiny Probake Polin
                                       Depositor
          State the term remaining
                                                                                Philadelphia                    PA        19102
          List the contract
          number of any
          government contract

2.9       State what the contract      Lease Agreement                    Pawnee Leasing Corporation
          or lease is for and the      Foodtools Model CP-1F Full Sheet   Attn: Sandy Carr
          nature of the debtor's       Crumb Press; A5726 Shankline A27A
          interest                                                        3801 Automation Way, Suite 207
                                       Automatic L Bar Sealer; A5727
                                       Shankline T-7XL Heat Shrink Tunnel
                                       Customer Skidding for A5727 &
                                       A5726                              Fort Collins                CO                  80525
                                       Contract to be REJECTED
          State the term remaining
          List the contract
          number of any
          government contract




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.10       State what the contract      Equipment Lease                    TimePayment Corp.
           or lease is for and the      1-596KDF771014LFT-Lft Hinged Door 16 N.E. Executive Park #200
           nature of the debtor's       10' x 14' x 7' 7" Outdoor Walk-in
           interest                     Freezer with Floor and 1-96108833-
                                        Walk-In Exterior Ramp
                                        Contract to be REJECTED
           State the term remaining                                        Burlington                 MA                   01803
           List the contract
           number of any
           government contract




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